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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

PROJECT FOR PRIVACY AND                            )
SURVEILLANCE ACCOUNTABILITY,                       )
INC.,                                              )
      Plaintiff,                                   )
                                                   )        Civil Action No. 1:21-cv-1972 (CKK)
       v.                                          )
                                                   )
UNITED STATES DEPARTMENT OF                        )
JUSTICE,                                           )
                                                   )
       Defendant.                                  )
                                                   )

                               JOINT STATUS REPORT

       The parties, by counsel, respectfully submit this Joint Status Report in response to

the Court’s October 7, 2022 Minute Order.

       1.       Plaintiff seeks records under the Freedom of Information Act (“FOIA”), 5

U.S.C. § 552, from components of the U.S. Department of Justice (“DOJ”)1 related to

cell-site simulator technology. There are 13 components within DOJ responsible for

processing FOIA requests for the offices identified in Plaintiff’s request.

       2.      The parties have been working cooperatively to find the most efficient

path forward for the processing of Plaintiff’s FOIA request, and they continue to make

progress. In prior Joint Status Reports the parties identified ongoing negotiations

regarding Plaintiff’s request categories no. 13 and 15. The parties have agreed to a

narrowed scope for those portions of Plaintiffs’ request.




       1  For ease and efficiency of reference, all of the components are referred to
collectively as “components.” One component, the Office of the Inspector General, is a
statutorily created independent entity within DOJ.

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       3.      The parties agree that a status conference is not needed at this time. The

current status and outstanding issues for each of the 13 components are outlined below.

The Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”)

       4.      ATF has completed its search for records regarding the agreed-to scope of

Plaintiff’s request and confirmed that its searches covered the information Defendant

agreed to search for pursuant to the parties’ agreement for category nos. 13 and 15.

       5.      ATF is conducting its review of the potentially responsive records

identified in its searches on a rolling basis, and to date it has provided Plaintiff with

interim responses on August 9, September 18, and October 18, 2022, as well as January

9, February 9, and April 12, 2023. 2

The Civil Division

       6.      The Civil Division has completed its search and identified no responsive

documents. The parties have conferred regarding the Civil Division’s response and agree

there is no ongoing dispute regarding the Civil Division’s response to Plaintiff’s request.

The Criminal Division

       7.      The Criminal Division has completed its initial search for records based

on Plaintiff’s request, and it intends to complete additional searches within its initial

search results to implement the parties’ agreement to narrow the scope of the records

requested under Plaintiff’s category 13. 3


       2 Although ATF also provided Plaintiff with interim responses on November 18
and December 6, 2022, those interim responses contained administrative errors in the
consultation process. Consistent with Fed. R. Civ. P. 26(b)(5)(B), the parties coordinated
and confirmed prompt destruction of the erroneously produced documents.
       3
         The Criminal Division’s initial search identified over 28,500 potentially
responsive electronic items. Electronic items include files of documents and sometimes
attachments. Further processing is required before the Criminal Division can identify the
estimated number of pages within each potentially responsive electronic item.
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       8.      Also, the Criminal Division has begun its review of the potentially

responsive items identified in its searches for de-duplication and responsiveness. The

Criminal Division expects that any responsive pages, if located, may require consultation

with other DOJ components and federal agencies before the Division can make a final

decision regarding the release or withholding of the pages.

The Drug Enforcement Administration (“DEA”)

       9.      The DEA has completed its search for records regarding the agreed-to

scope of Plaintiff’s request and confirmed that its searches covered the information

Defendant agreed to search for pursuant to category nos. 13 and 15.

       10.     The DEA has completed its review of the potentially responsive records

identified in its search and has provided Plaintiff with interim responses on July 19 and

December 16, 2022, as well as its final response to Plaintiff’s request on January 17,

2023. DEA has also referred responsive records to other components for processing and

direct response to Plaintiff. The parties expect to confer before the next joint status report

to identify whether there is any ongoing dispute related to DEA’s response.

The Executive Office for U.S. Attorneys (“EOUSA”)

       11.     EOUSA has completed its search for potentially responsive records

regarding the agreed-to scope of Plaintiff’s request, including the parties’ agreement

regarding request category nos. 13 and 15, and it is currently reviewing its search returns

for responsiveness, non-exemption, and de-duplication on a rolling basis.

       12.     EOUSA provided interim responses to the Plaintiff on September 9 and

October 19, 2022, as well as January 26, February 28, and March 30, 2023. Also,

EOUSA has referred pages of responsive records to other agencies or offices for required

consultations and is awaiting those responses before a final decision regarding the release

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or withholding of this material is made. As the review of records is ongoing, EOUSA

will continue to provide interim responses until its review of all potentially responsive

records is complete.

The Federal Bureau of Investigation (“FBI”)

       13.     The FBI has completed its search for records regarding the agreed-to

scope of Plaintiff’s request and confirmed that its searches covered the information

Defendant agreed to search for pursuant to the parties’ agreement for category nos. 13

and 15. Plaintiff has paid the fee related to the release of any responsive records

identified in the FBI’s review, see 28 C.F.R. § 16.10.

       14.     The FBI has completed its initial review of the potentially responsive

records identified for this case and provided Plaintiff with interim response letters dated

June 1, June 30, July 29, August 31, and September 30, 2022. The FBI is awaiting the

return of records for which is it consulting with other government agencies. After the

FBI receives responses from the consulting agencies regarding the records relevant to its

requests, the FBI will make determinations regarding the release or withholding of those

records.

The Justice Management Division (“JMD”)

       15.     JMD has completed its searches regarding the agreed-to scope of

Plaintiff’s request, including for the parties’ agreement regarding the scope of request

nos. 13 and 15.

       16.     JMD has completed its review of the potentially responsive records

identified in its search and has provided Plaintiff with its final response on January 27,

2023. JMD has also referred responsive records to other components for processing and



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direct response to Plaintiff. The parties expect to confer before the next joint status report

to identify whether there is any ongoing dispute related to JMD’s response.

The National Security Division (“NSD”)

       17.     NSD has completed its search and processing of responsive records in this

case, and has produced its responsive, non-exempt records to Plaintiff. The parties are

still discussing whether there is any ongoing dispute related to NSD’s response.

The Office of Information Policy (“OIP”)

       18.     OIP does not maintain records on the topic of Plaintiff’s request (or

portions thereof). As relevant here, however, OIP is responsible for processing FOIA

requests to the Office of the Attorney General, the Office of the Deputy Attorney

General, the Office of the Associate Attorney General, the Office of Legal Policy, and the

Office of Privacy & Civil Liberties.

       19.     The parties have agreed upon a tiered approach for OIP’s remaining

searches that should improve OIP’s efficiency by narrowing the scope of its searches.

OIP will utilize this agreed-upon approach to continue searching for additional,

potentially responsive records. Because of these ongoing discussions, including those

identified above, OIP is currently unable to estimate a date when its searches will be

complete.

       20.     OIP has completed several initial keyword searches, which identified over

100,000 pages of potentially responsive records, and is continuing to make progress

reviewing those search results for responsiveness in accordance with the agreed-upon

tiered approach. OIP expects that any responsive pages, if located, will require

consultation with other DOJ components and federal agencies, before OIP can make a

final decision regarding the release or withholding of the pages.

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           21.   Furthermore, OIP is actively working to process other Department

components’ records for this litigation received by OIP as referrals or on consultation.

The Office of Justice Programs (“OJP”)

           22.   OJP has completed its search for potentially responsive materials, which

were sufficient to identify any records potentially responsive to the parties narrowed

scope for request categories 13 and 15. OJP is reviewing its search results on a rolling

basis. 4

           23.   OJP has provided Plaintiff with interim responses by letters dated

February 7, March 8, April 8, May 9, June 2, July 13, August 3, September 7, October 6,

November 4, and December 13, 2022, as well as January 6, February 7, March 14, and

April 10, 2023.

The Office of the Inspector General (“OIG”)

           24.   The OIG has completed its search and identified no responsive documents.

The parties have conferred regarding the OIG’s response and agree there is no ongoing

dispute regarding the OIG’s response to Plaintiff’s request.

The Organized Crime Drug Enforcement Task Forces (“OCDETF”)

           25.   OCDETF has completed its search and processing of responsive records in

this case, and has produced its responsive, non-exempt records to Plaintiff. OCDETF has

also responded to Plaintiff’s questions about its searches, and the parties are conferring

regarding whether there is any ongoing dispute related to OCDETF’s response.




        The status reported herein for OJP includes the Bureau of Justice Statistics
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(“BJS”) because BJS is a program office within OJP.
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The U.S. Marshal Service (“USMS”)

       26.      The USMS has located potentially responsive records pursuant to the

parties’ previously agreed-to scope of searches, and it is continuing to search for

additional potentially responsive records (including those potentially responsive to the

parties’ agreement for categories 13 and 15 of Plaintiff’s request).

       27.     The USMS has begun to process on a rolling basis the potentially

responsive records identified so far. The USMS anticipates that some of the documents

will either require internal review and concurrence from different divisions within the

USMS, or consultations with other DOJ components and other federal agencies before it

can make a final decision regarding the release or withholding of the pages. The USMS

anticipates providing Plaintiff with an interim response by May 12, 2023.

                                            ***

       28.     Defendant DOJ will continue to engage with Plaintiff while continuing to

evaluate its FOIA request and update Plaintiff on the projected number of records and

processing schedules when such information is known and, thereafter, update the Court.

       29.     The Parties anticipate having further information for the Court by the next

Joint Status Report, due in 90 days on July 18, 2023. See October 7 Minute Order.

                                              Respectfully submitted,

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DATED: April 19, 2023




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